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 April 26, 2024

 VIA ECF FILING

 Honorable Paul A. Engelmayer
 Thurgood Marshall United States Courthouse
 40 Foley Square
 New York, NY 10007

        Re:       Jane Street Group LLC v. Millennium Management LLC, 24 C 2783 (PAE)

 Dear Judge Engelmayer,

 Defendants Millennium Management LLC (“Millennium”), Douglas Schadewald, and
 Daniel Spottiswood (together, “Defendants”) jointly submit this letter in response to the
 Court’s April 24, 2024 Memo Endorsement Order (Dkt. 59). Given the significant
 differences between the parties with respect to case management, Defendants respectfully
 provide this separate letter to explain their position as reflected in more detail in the the
 attached proposed Case Management Order (“CMO”).

 A week ago, Jane Street argued before this Court that a resolution of this case on an
 expedited basis was “critical to Jane Street’s business” because “every day that the
 defendants are using this strategy, it has the possibility of extinguishing” the trading
 opportunity. Apr. 19, 2024 Hr’g Tr. 18:21-24. The Court rejected Jane Street’s application
 for a temporary restraining order while setting the matter for a trial on injunctive relief the
 week of July 15. Then, late Tuesday afternoon—despite nothing changing in the interim—
 Jane Street reversed position completely, withdrawing for the moment its request for a
 preliminary and permanent injunction and arguing without further explanation that the case
 is now too complex to be tried in July and that it would be prejudiced if required to proceed
 with the very trial it demanded the prior Friday.

 Jane Street essentially seeks to force Defendants to live with this litigation looming over
 them for a full year, apparently calculating that they can chill Defendants’ trading for a
 much longer period by forgoing expedited discovery. Jane Street’s proposed CMO also
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 lacks any specific mechanism for identification of the purported trade secrets at issue,
 despite counsel’s express representation in court last week that Jane Street was willing to
 “provide something [under seal] with much more definition so that there would be fair
 notice.” Apr. 19, 2024 Hr’g Tr. 21:23-22:1 (“THE COURT: In other words, if it were
 granted, you would presumably under seal provide something with much more definition
 so that there would be fair notice. MS. BROWN: We could do that, your Honor.”); see
 also id. at 22:12-13 (“we would be prepared to put something in under seal”). Under Jane
 Street’s proposal, it would only identify the trade secrets at issue in response to an
 interrogatory, to be served within 30 days of entry of the CMO—which means that even if
 Defendants served an interrogatory on Jane Street immediately after the Court’s entry of
 the CMO, Defendants might not learn of the alleged trade secret until five or six weeks
 after Jane Street initially filed the Complaint, assuming that Jane Street’s answer to the
 interrogatory was sufficiently detailed and specific.

 Jane Street’s new approach to this litigation is neither fair nor justified. Jane Street’s
 lawsuit has tarnished the reputations, and put at significant risk the livelihoods, of two
 traders who have not done anything wrong and who are eager to clear their names. And
 the lawsuit has cast a shadow on Millennium. Jane Street’s withdrawal of its injunctive
 relief request, however, means Mr. Schadewald and Mr. Spottiswood must work under the
 cloud of litigation for more than a year and without any certainty as to what they are
 allowed to do in the interim. Jane Street’s proposal would even require Defendants to
 provide trading data next month, before Jane Street even discloses the alleged trade
 secret(s) that forms the entire basis of their suit or any other written discovery. This
 asymmetry would allow Jane Street to define its alleged “trade secret” to fit Millennium’s
 trading data—thus leading to a renewed request for a preliminary injunction, as Jane Street
 has expressly reserved.

 This gamesmanship is directly at odds with Jane Street’s promise to provide the Court and
 Defendants with fair notice of its purported trade secret. Jane Street should be required to
 immediately identify the trade secrets it claims are at issue in their Complaint with
 specificity. That critical step will determine whether Defendants file an Answer with
 Counterclaim, move to dismiss, or move for judgment on the pleadings. Defendants have
 therefore proposed a Case Management Order that requires identification of the trade
 secrets by Tuesday, April 30, 2024, whereupon Defendants would file any response to the
 Complaint no later than May 6, 2024 and then the parties would proceed, on an expedited
 basis, to a fact hearing on liability the week of July 15, 2024 or some date thereafter
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 convenient for the Court. Finally, the Court should reject Jane Street’s attempt to nullify
 the jury waiver Jane Street agreed to in Mr. Schadewald’s Confidentiality and Intellectual
 Property Agreement.

 I.     Jane Street Must Identify Its Purported Trade Secrets Immediately

 The most important step a court can take in the efficient management of a trade secret case
 is to ensure that there is an early and robust “identification” process for delineating the
 trade secrets in dispute. The Court recognized this at Friday’s hearing, securing an
 agreement from Jane Street’s counsel in response to the Court’s suggestion that Jane Street
 provide “something with much more definition so that there would be fair notice.” April
 19, 2024 Hr’g Tr. 21:23-22:1. Indeed, courts in this Circuit have regularly dismissed
 federal and state trade secret misappropriation claims for failure to give the defendant
 “sufficient notice of the contours of the claim for misappropriation.” Aira Jewels, LLC v.
 Mondrian Collection, LLC, No. 23-CV-04510 (JLR), 2024 WL 1255798, at *3-4
 (S.D.N.Y. Mar. 25, 2024) (noting a plaintiff claiming violation under the Defend Trade
 Secrets Act cannot “get away with nebulous descriptions at the highest level of
 generality”); see also Sapir v. Rosen, No. 20-CV-6191 (RA), 2021 WL 4482277, at *7
 (S.D.N.Y. Sept. 30, 2021) (dismissing DTSA claim where description of alleged trade
 secret was “so general that the Court [was] unable to infer either the existence or the
 protectability of any trade secret”).

  As the Federal Judicial Center’s Trade Secret Case Management Judicial Guide (the
 “Judicial Guide”) provides, trade secrets identification “should be early” and “depends on
 the needs of the case.” The growing consensus is for courts to require pre-discovery
 identification of trade secrets. See Judicial Guide, Ch. 4 (2023) (excerpt attached). Indeed,
 some jurisdictions refuse to allow discovery to proceed at all until the identification process
 has been completed.

 Here, it is essential that Defendants are put on notice of the res of the dispute—the claimed
 trade secrets. The Court observed during the hearing that referring to “the trading strategy”
 is insufficient. The Complaint refers to seven code-named strategies, which have no
 meaning whatsoever to Millennium and which the individual Defendants have
 unequivocally denied using at Millennium. It should be no difficulty at all for Jane Street
 to produce a disclosure, with numbered paragraphs, identifying each trade secret with
 particularity, so that Defendants and the Court know what Jane Street claims is in dispute
 and so that Defendants can prepare a defense.
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 Yet, under Jane Street’s proposed CMO, it would only identify the trade secrets at issue
 through the written discovery process. An interrogatory answer, which can be amended at
 any time, is subject to gamesmanship, delay, and amendment without notice. On the other
 hand, the identification process described in the Judicial Guide locks in the plaintiff to
 describing what is in dispute, subject to a good-cause exception for after-discovered
 evidence. This more structured procedure has proven effective in many cases, is required
 in some states, and is strongly recommended by the Federal Judicial Center.

 Jane Street has stated in open court that it can readily identify its claim of trade secrets with
 detailed specificity. See April 19, 2024 Hr’g Tr. 21:12-22. It should be directed to make
 the necessary disclosures. It either knows the alleged trade secrets at issue or it doesn’t. If
 it doesn’t, then there is no case and Defendants deserve to know that now—not five or six
 weeks from now, and certainly not after Defendants have had to provide trading data to
 Jane Street, which could allow Jane Street to attempt to fashion its “trade secret” in
 response to Defendants’ data.

 Accordingly, Defendants respectfully request that the Court require Jane Street to identify
 the trade secrets that allegedly justify this action on an attorney’s eyes only and client
 representative basis on or before April 30, 2024, subject to amendment upon good cause.

 II.     The Court Should Decide Liability on an Expedited Basis During the July
         Fact Hearing

 Assuming Jane Street produces its trade secret disclosure early next week, Defendants
 anticipate that they will file an Answer with a counterclaim seeking a declaratory judgment
 and/or a motion to dismiss or for judgment on the pleadings soon thereafter. Rule 57 of
 the Federal Rules of Civil Procedure provide that “the court may order a speedy hearing of
 a declaratory judgment action.” That hearing should take place during the week that the
 Court has already reserved in July or thereafter at its earliest convenience.

 Defendants have therefore proposed a case management order that would facilitate a
 bifurcated hearing solely on liability the week of July 15, 2024. A bifurcated hearing
 addresses Jane Street’s concern that it would be “highly prejudiced if unable to collect a
 full and complete record” on damages prior to a full trial on the merits. See Dkt. 58, Joint
 Letter at ECF 2. It would also allow an early resolution of this case, thus allowing
 Schadewald and Spottiswood to clear their names and conduct their investment activity on
 behalf of Millennium without the specter of unwarranted scrutiny by Jane Street.
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 Bifurcating the proceedings further serves judicial economy. As the Second Circuit has
 recognized, bifurcation is “appropriate where, for example, the litigation of the first issue
 might eliminate the need to litigate the second issue. . . .” Amato v. City of Saratoga
 Springs, N.Y., 170 F.3d 311, 316 (2d Cir. 1999). Defendants expect that the fact hearing
 will make a damages assessment either entirely unnecessary or severely limit its scope.

 To be clear, Defendants’ position does not preclude discovery relevant to damages. As is
 always the case in bifurcating the determination of any damages, the parties will conduct
 discovery that is relevant to both issues. The Case Management Order should therefore
 provide that the July fact hearing will decide liability, and that Jane Street’s damages claims
 are bifurcated.

 III.   This Case Should Be Heard by the Court, Not by a Jury

 Despite the express jury waiver in Mr. Schadewald’s Confidentiality and Intellectual
 Property Agreement and its willingness last week to put liability issues before the Court,
 Jane Street now wants this dispute to be tried by a jury. The Court should find that this
 dispute is to be heard and decided by the Court.

 Section 9 of Mr. Schadewald’s Confidentiality and Intellectual Property Agreement (the
 “Agreement”) could not be clearer. It provides that both Mr. Schadewald and Jane Street
 “irrevocably waive any and all right to trial by jury in any such proceeding” with respect
 to any matter arising out of that Agreement. Dkt. 57-001, Ex. A at ¶ 9. Section 10 further
 provides that in the event of a related dispute with a non-party to the Agreement, Jane
 Street may seek resolution of the dispute “in a single proceeding in the same court,” defined
 as a “Consolidated Court Proceeding,” which Jane Street has done in this litigation.
 Section 10 then states that “[f]or purposes of this Section of the Agreement each party
 irrevocably waives any and all right to plead or contend lack of personal jurisdiction … in
 the court in which the Consolidated Court Proceeding is being heard; and they each
 irrevocably waive any and all right to trial by jury in any such proceeding.” Dkt. 57-001,
 Ex. B at ¶ 10 (emphasis added). Moreover, at last week’s hearing, Jane Street confirmed
 that this dispute arises out of the Agreement. April 19, 2024 Hr’g Tr. 19:24-20:9 (“We
 believe Millennium was fully aware of the IP and confidentiality agreements that were in
 place with Mr. Schadewald when they hired him”); see also id. at 10:10-23 (discussing
 Jane Street’s heavy reliance on its IP and confidentiality agreements).
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 Jane Street would have this Court empanel a jury to hear its claims against Mr. Spottiswood
 (though Spottiswood is accused of the same conduct as Schadewald) and Millennium—
 despite Jane Street’s clear and express jury waiver and agreement to consolidate related
 disputes in a single court proceeding. The Court should hold Jane Street to the express
 contractual language in Mr. Schadewald’s Confidentiality and Intellectual Property
 Agreement and confirm that this case will be decided by the Court.

 Respectfully submitted,

 /s/ Andrew J. Levander

 Andrew J. Levander


 /Enclosures
